            Case 1:18-cv-00508-RC Document 359 Filed 06/11/21 Page 1 of 7




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                               )
WILMER GARCIA RAMIREZ, et al., )
                               )
               Plaintiffs,     )
                               )
     v.                        ) Civil Action No. 1:18-cv-00508-RC
                               )
UNITED STATES IMMIGRATION AND )
CUSTOMS ENFORCEMENT, et al.,   )
                               )
               Defendants.     )
                               )

    PLAINTIFFS’ MOTION AND SUPPORTING MEMORANDUM FOR ENTRY OF
             FINAL JUDGMENT AND PERMANENT INJUNCTION

       Pursuant to Rule 54 of the Federal Rules of Civil Procedure, Plaintiffs respectfully move

for entry of the proposed Final Judgment and Permanent Injunction attached as Exhibit A

(“Judgment and Injunction”). Plaintiffs address below a handful of proposed provisions in their

proposed Final Judgment and Permanent Injunction that Plaintiffs believe are particularly

important to remedying Defendants’ past violations and non-compliance with the statute.

       1.       Sunset of the Permanent Injunction.

       Plaintiffs propose that the injunction sunset five (5) years from the date it is entered, subject

to one or more Court-ordered extensions not to exceed two (2) years upon motion and a showing

by Plaintiffs that Defendants have materially violated or failed to comply with the Judgment and

Injunction during its initial term or any extension. (See Ex. A at 8-9, § IX.) Plaintiffs seek a five-

year term to ensure that Defendants comply with the Statute until and after the 2024 presidential

election and the possible election of a new President. Undisputed evidence at trial demonstrated

the increase in non-compliance and detention of Age-Outs that occurred after the election of the

prior administration and how quickly and easily individual field offices can change from releasing
            Case 1:18-cv-00508-RC Document 359 Filed 06/11/21 Page 2 of 7




to detaining all (or almost all) Age-Outs. (See ECF 333 (July 2, 2020 Decision) ¶¶ 225-240.)

Relatedly, a five-year term of Court-supervised compliance will help ensure that the revised

guidance and training required by the Judgment and Injunction are firmly and durably established

and engrained within ICE, JFRMU, and the field office personnel responsible for making Age-Out

placement determinations, and that Defendants do not revert to the policies and practices that the

Court found violated the Statute in its July 2, 2020 Decision. (See, e.g., ECF 333, at 2, 151-163,

179-180.)

       2.       Plaintiffs’ Rights to Advanced Notice of, and to Review and Object to, New or
                Supplemental Policies, Practices, and Training Proposed by ICE.

       Plaintiffs’ proposed Judgment and Injunction requires that Plaintiffs receive advance notice

of, and have a right to review and object to, any proposed revisions to the revised policy guidance

and training materials agreed upon by the parties, and that any disputes concerning such proposed

revisions shall be resolved by the Court pursuant to the Judgment and Injunction’s dispute

resolution provisions. (See Ex. A at 9-10, § XII.A.) However, the new and revised policy guidance

and training agreed upon by the parties could be undermined, in whole or in part, and compliance

with the Statute thwarted, if ICE could subsequently adopt new or supplemental policy guidance

or training concerning what the Statute means or requires and/or when or how Age-Out placement

determinations should be made, without providing advance notice to Plaintiffs and ensuring

Plaintiffs’ right to raise concerns and object to, and the Court’s authority to resolve any disputes

concerning, such new or supplemental policy guidance or training. Accordingly, Plaintiffs’

proposed Judgment and Injunction provides that Plaintiffs shall receive advance notice of, and

have a right to object to, and that the Court shall have authority to resolve any disputes concerning,

not only revisions to the current policy guidance and training agreed to by the parties, but also new

or supplemental policy guidance and training that Defendants may seek to adopt during the term


                                                  2
            Case 1:18-cv-00508-RC Document 359 Filed 06/11/21 Page 3 of 7




of the Injunction concerning what the Statute means or requires and/or when or how Age-Out

placement determinations should be made. (See Ex. A at 7, § VIII.A; id. at 9-10, § XII.A.)

       3.       The Parties’ Dispute Concerning Defendants’ Proposed Revised AORW.

       Plaintiffs’ proposed Judgment and Injunction would moot the pending dispute concerning

Defendants’ proposed revised AORW. (See ECF 345, 347, 351.) Section III.B provides that

Defendants’ proposed revised form will be used for a six (6) month trial period, after which the

parties will meet and confer concerning any revisions either side believes should be made “to

ensure (a) that the AORW provides the information that will allow the parties to monitor whether

ICE is complying with the Statute, the Court’s July 2, 2020 Decision, and this Order, and/or (b) that

ICE is complying with the Statute, the Court’s July 2, 2020 Decision, and Order,” and that the

Court shall have authority to resolve any unresolved disputes pursuant to the Judgment and

Injunction’s dispute resolution provisions. (See Ex. A at 3-4, § III.B.)

       4.       Plaintiffs’ Request for a Monitor.

       Plaintiffs’ proposed Judgment and Injunction also withdraws Plaintiffs’ previous request

for appointment of a Special Master to monitor Defendants’ compliance, subject to Plaintiffs’ right

to renew that request in the future upon a showing that Defendants have materially violated and/or

failed to comply with the Judgment and Injunction.

       5.       Plaintiffs’ Attorneys Fees for Monitoring and Enforcing Defendants’
                Compliance.

       In view of Plaintiffs counsel’s exclusive role in monitoring and enforcing Defendants’

compliance, Plaintiffs’ proposed Judgment and Injunction provides that Plaintiffs’ counsel shall

be reimbursed for their reasonable fees and expenses incurred in monitoring and enforcing

Defendants’ compliance with the Judgment and Injunction. This includes not only those fees and

costs that might be recoverable under the Equal Access to Justice Act (“EAJA”), 28 U.S.C. § 2412,


                                                 3
            Case 1:18-cv-00508-RC Document 359 Filed 06/11/21 Page 4 of 7




such as motion practice in which Plaintiffs’ prevail, but all such reasonable fees and expenses,

including those relating to routine review and monitoring of Defendants’ periodic reporting and

completed AORWs. The proposed Judgment and Injunction requires that such fees and expenses

shall be itemized and described in a quarterly statement and that fees shall be limited to the hourly

rates authorized under the Laffey Index as revised from time to time, as opposed to Plaintiffs’

counsels’ much higher ordinary, market-based rates. (See Ex. A at 8, § VIII.)

       Plaintiffs also intend to seek an award of their fees and costs in prosecuting this action

pursuant to the Equal Access to Justice Act. Pursuant to Section 2412(d)(1)(B) of the EAJA, that

motion will be due within 30 days of “final judgment,” which is defined as “a judgment that is

final and not appealable.” Id. at § 2412(d)(2)(G). Thus, Plaintiffs’ motion will be due 30 days

after the 60-day period for Defendants to file an appeal pursuant to Fed. R. App. P. 4(a)(1)(B)

expires, if Defendants do not appeal, and 30 days after all appellate proceedings are finally

concluded, in the event Defendants appeal. These provisions supersede the 14-day deadline in

Fed. R. Civ. P. 54(d)(2)(B), because in this case “a statute”—EAJA—“provides otherwise.” Fed.

R. Civ. P. 54(d)(2)(B); see also Al Harbi v. Immigration & Naturalization Serv., 284 F.3d 1080,

1082 (9th Cir. 2002).

       6.       New and/or Additional Organizational Sponsors.

       In its July 2, 2020 Decision, the Court specifically recognized the critically important role

shelters, group homes, and other organizational sponsors play in providing a less restrictive

alternative to detention and complying with the Statute. (See ECF 333, at 3, 160-62; see id. ¶¶ 38-

42.) And the parties have specifically acknowledged the critically important role of organizational

sponsors in the training materials and policy guidance they previously agreed upon, which are

incorporated in Plaintiffs’ proposed Judgment and Injunction. (See ECF 346-01 (agreed training

materials); Ex. A, at Ex. 1, at 3-4 (FOJC Handbook).) The parties have also agreed upon a

                                                 4
          Case 1:18-cv-00508-RC Document 359 Filed 06/11/21 Page 5 of 7




nationwide list of organizational sponsors that currently accept Age-Outs, which will be provided

to and used by all field offices and personnel making Age-Out placement determinations. That

list includes sponsors identified by both Defendants and Plaintiffs and was arrived at through a

meet and confer process in which any disputes as to proposed sponsors (if there had been any,

which there were not) would be resolved by the Court. Plaintiffs’ proposed Judgment and

Injunction proposes a similar process with respect to periodic updates to the list going forward,

including, as to sponsors proposed by Plaintiffs and rejected by Defendants, a requirement that

Defendants provide an explanation of the reason(s) for their objection, and if the parties are unable

to agree, resolution by the Court pursuant to the Judgment and Injunction’s dispute resolution

provisions. (See Ex. A at 2-3, § II.) Once again, this process is supported by undisputed evidence

at trial that, in the past, ICE has rejected potential organizational sponsors without any legitimate

basis (for example, La Posada Providencia as to named Plaintiff Sulma Hernandez) and/or based

on an inaccurate or pretextual reason (for example, that a shelter does not accept Age-Outs when

it does, or has a record of failing to supervise or allowing Age-Outs to abscond when it does not).

(See ECF 28 (P.I. Op.) at 8-9; ECF 333, ¶¶ 17-18.)

                               *                *               *

       Plaintiffs’ proposed Judgment and Injunction incorporates a number of significant

concessions (including withdrawal of their request for a Special Master and use of Defendants’

proposed revised AORW). The resolutions proposed by Plaintiffs are supported by undisputed

evidence presented at trial and the Court’s findings in its July 2, 2020 Decision, as well as reason

and common sense. For all of these reasons, Plaintiffs respectfully request that the Court enter the

proposed Final Judgment and Permanent Injunction attached as Exhibit A.




                                                 5
          Case 1:18-cv-00508-RC Document 359 Filed 06/11/21 Page 6 of 7




       Pursuant to Local Rule 7(m), Plaintiffs have conferred with Defendants, and Defendants

indicated that while they “likely” will not oppose entry of a final judgment, they will oppose certain

provisions in Plaintiffs’ Proposed Final Judgment and Permanent Injunction.



Dated: June 11, 2021                            Respectfully submitted,

                                                /s/ Stephen R. Patton
                                                Stephen R. Patton
                                                KIRKLAND & ELLIS LLP
                                                300 North LaSalle
                                                Chicago, IL 60654
                                                Telephone:     (312) 862-2000
                                                Facsimile:     (312) 862-2200
                                                stephen.patton@kirkland.com

                                                Tia T. Trout Perez (D.C. Bar No. 990447)
                                                KIRKLAND & ELLIS LLP
                                                655 Fifteenth St., NW
                                                Washington, DC 20005
                                                Telephone:     (202) 879-5000
                                                Facsimile:     (202) 879-5200
                                                tia.trout-perez@kirkland.com

                                                Mark Fleming
                                                NATIONAL IMMIGRANT JUSTICE CENTER
                                                208 South LaSalle Street, Suite 1300
                                                Chicago, IL 60604
                                                Telephone: (312) 660–1335
                                                Facsimile:   (312) 660–1505
                                                mfleming@heartlandalliance.org

                                                Katherine Melloy Goettel
                                                Gianna Borroto
                                                AMERICAN IMMIGRATION COUNCIL
                                                1331 G Street, NW, Suite 200
                                                Washington, DC 20005
                                                Telephone: (202) 507-7552
                                                kgoettel@immcouncil.org
                                                gborroto@heartlandalliance.org

                                                ATTORNEYS FOR PLAINTIFFS



                                                  6
         Case 1:18-cv-00508-RC Document 359 Filed 06/11/21 Page 7 of 7




                                CERTIFICATE OF SERVICE

       The undersigned certifies that on this 11th day of June 2021, a true and correct copy of the

foregoing was served via ECF upon counsel of record.


                                                     /s/ Stephen R. Patton
                                                     Stephen R. Patton




                                                8
